Case 3:10-cr-02742-BEN   Document 155   Filed 01/25/12   PageID.935   Page 1 of 6
Case 3:10-cr-02742-BEN   Document 155   Filed 01/25/12   PageID.936   Page 2 of 6
Case 3:10-cr-02742-BEN   Document 155   Filed 01/25/12   PageID.937   Page 3 of 6
Case 3:10-cr-02742-BEN   Document 155   Filed 01/25/12   PageID.938   Page 4 of 6
Case 3:10-cr-02742-BEN   Document 155   Filed 01/25/12   PageID.939   Page 5 of 6
Case 3:10-cr-02742-BEN   Document 155   Filed 01/25/12   PageID.940   Page 6 of 6
